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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. __________

  DEUTSCHE BANK TRUST COMPANY AMERICAS, in its capacity as successor indenture
  trustee for a certain series of Senior Notes,
  LAW DEBENTURE TRUST COMPANY OF NEW YORK, in its capacity as successor
  indenture trustee for a certain series of Senior Notes, and
  WILMINGTON TRUST COMPANY, in its capacity as successor indenture trustee for the
  PHONES Notes,

  Plaintiffs,

  v.

  BOB FUSHIMI;
  CLOVIA L. FUSHIMI;
  JANNA L. GADDEN;
  DONNA C. LIES;
  MARK S. LIES;
  BARBARA MARTELL;
  GREAT-WEST LIFE ASSURANCE CO.;
  MAXIM FOREIGN EQUITY PORTFOLIO;
  NORA E. MORGENSTERN;
  QUIXOTE CAPITAL MANAGEMENT;
  DEANN K. RILEY;
  DAVID L. RILEY;
  SARA ROONEY;
  KIMBERLY SCHATZ;
  THE EDWARD J. SIDNEY TRUST U/A 07/22/76;
  RUTH WOTTGE;
  EIGHTH DISTRICT ELECTRICAL PENSION FUND;
  QCM ABSOLUTE RETURN FUND;
  QUIXOTE PARTNERS LLC;
  A. HOYER;
  SCOTTRADE, INC.;
  E. GALLAGHER;
  F. TONG;
  HOYER/LEMTS;
  MAK/TU;
  DENNIS. J. BRITT;
  DENNIS J. BRITT ROLLOVER IRA;
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  SIMON WOTTGE;
  MAXIM T. ROWE PRICE EQUITY/INCOME PORTFOLIO;
  T. ROWE PRICE GROUP INC.;
  JOHN DOE DEFENDANTS 1 – 5000;
      AND
  MAXIM SERIES FUND, INC.;
  EDWARD J. SIDNEY, AS TRUSTEE OF THE EDWARD J. SIDNEY TRUST U/A/ 07/22/76;
  FRED MARTELL;
  DONALD ROONEY;
  JEFFREY SCHATZ;
  ON BEHALF OF THEMSELVES AND A CLASS OF SIMILARLY SITUATED PERSONS
  AND ENTITIES,

  Defendants.


                                           COMPLAINT


         Plaintiffs Deutsche Bank Trust Company Americas (“DBTCA”), in its capacity as

  successor indenture trustee for a certain series of Senior Notes (as hereinafter defined), Law

  Debenture Trust Company of New York (“Law Debenture”), in its capacity as successor

  indenture trustee for a certain series of Senior Notes (as hereinafter defined), and Wilmington

  Trust Company (“Wilmington Trust” and, together with DBTCA and Law Debenture,

  “Plaintiffs”), in its capacity as successor indenture trustee for the PHONES Notes (as hereinafter

  defined), by and through their undersigned counsel, respectfully allege as follows:

                                   NATURE OF THE ACTION

         1.      This action arises from the failed leveraged buyout (the “LBO”) of Tribune

  Company (“Tribune”) in 2007 — a transaction that financial and industry analysts

  contemporaneously characterized as one of the most highly leveraged in history. The LBO lined

  the pockets of Tribune’s former shareholders (the “Shareholders”) with $8.3 billion of cash at




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  the expense of Tribune’s creditors, and precipitated Tribune’s careen into bankruptcy shortly

  thereafter.

          2.     Plaintiffs seek to avoid and recover, as constructively fraudulent, all transfers of

  any proceeds received by each defendant in connection with the LBO. These transfers may be

  recovered from the defendants because: (a) Tribune made the challenged transfers without

  receiving reasonably equivalent value or fair consideration in exchange therefor; and (b) the

  challenged transfers were made when Tribune– (i) was, or was thereby rendered, insolvent, (ii)

  was engaged, or was about to engage, in a business or a transaction for which any property

  remaining with Tribune was an unreasonably small capital, or (iii) intended to incur, or believed

  that it would incur, debts that would be beyond Tribune’s ability to pay as such debts matured.

                                                * * *

          3.     In mid-2006, Tribune’s consolidated revenue was plummeting, its prospects were

  dimming, and its stock price had dropped to around $27 per share from a high of nearly $40 just

  twelve months earlier. The largest Shareholders desperately wanted, and ultimately found, an

  exit strategy: On April 1, 2007, Tribune’s board of directors (the “Tribune Board”) approved a

  bid by billionaire Samuel Zell (“Zell”) to acquire Tribune through an extraordinarily leveraged

  buyout.

          4.     In its most basic form, a leveraged buyout is a corporate acquisition where the

  acquirer purchases the outstanding stock of a target company using borrowed funds that are

  guaranteed by, or secured by the assets of, the target company itself. Because leveraged buyout

  transactions replace the target company’s outstanding equity with new debt, the law recognizes

  that LBOs are inherently risky to the target company’s existing creditors and invite application of



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  fraudulent-transfer law when the target company is left unable to satisfy its obligations to its pre-

  LBO creditors. As aptly described by one court, “[f]rom a creditor’s point of view, an LBO is

  indistinguishable from a distribution or a gift to shareholders. The harm is quite like the harm

  imposed on creditors by donative transfers to third parties, which is one of the most traditional

  kinds of fraudulent transfers.” Indeed, it is the cashed-out shareholders who receive the principal

  benefit in an LBO transaction; the target corporation, on the other hand, receives absolutely no

  benefit to offset the greater risk of operating as a highly leveraged enterprise.

         5.      Before the LBO, Tribune and its direct and indirect subsidiaries (collectively, the

  “Company”) had approximately $5.6 billion of funded debt obligations and a positive equity

  value. As a result of the LBO, however, the Company increased its funded debt obligations by

  more than $8 billion and Tribune had a negative equity value.

         6.      The LBO was designed as a single transaction that would be implemented in two

  steps. Tribune executed the first step of the LBO (“Step One”) on June 4, 2007, paying some of

  the Shareholders $4.3 billion (the “Step One Shareholder Transfers”) for 52% of the

  outstanding stock at a premium price of $34 per share. Tribune executed the second step of the

  LBO (“Step Two”) on December 20, 2007, paying Shareholders another $4 billion (the “Step

  Two Shareholder Transfers” and, together with the Step One Shareholder Transfers, the

  “Shareholder Transfers”) for the remaining outstanding stock, also at the premium price of $34

  per share. This transaction was a textbook fraudulent transfer.

         7.      Tribune received, and the Shareholders gave, no value whatsoever in exchange

  for the Shareholder Transfers. To the contrary, Tribune only received the dubious honor of

  repurchasing its own stock, and a bloated debtload that increased to more than $13 billion —



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  billions more than Tribune was actually worth, and nearly ten times the Company’s actual cash

  flow for 2006 or projected cash flow for 2007. This highly leveraged capital structure was

  nothing short of reckless.

          8.     The Company was a terrible candidate for an LBO. Nearly two-thirds of the

  Company’s cash flow was generated from its newspaper businesses. At the time of the LBO, the

  publishing industry was in the midst of a deepening, well-publicized structural decline. Print

  circulation and advertising revenues were falling at a rapid clip across the entire industry as

  readership migrated online and to other media outlets. The consensus among analysts, market

  participants, and rating agencies in 2007 was that these challenges were not cyclical and that the

  declines in circulation and advertising were not likely to abate anytime soon — if ever.

          9.     To make matters worse, the Company significantly underperformed industry

  averages during the years and months leading up to the LBO. In fact, just months before the

  close of Step One, both management and independent analysts reported that daily circulation for

  the Company’s largest newspapers was decreasing at a more precipitous rate than the industry

  average decline. Consequently, management had no reason to assume that circulation or

  advertising revenue would improve over the long term or that the Company could make-up any

  shortfalls.

          10.    At the time Step One closed, the Company had already failed to meet

  management’s projections for the first several months of 2007. As of May 2007, year-to-date

  operating cash flow for the publishing segment was significantly lower than projected, and less

  than the prior year’s actual results for the same period. In fact, one of Tribune’s largest

  newspapers was reported to have had “one of the worst quarters ever experienced” in the second



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  quarter of 2007. Consequently, just to meet full-year projections for 2007, the Company would

  have had to achieve an impossible trifecta during the second half of the year: turn around the

  negative trend, and recoup the performance deficiencies from the first half, and significantly

  exceed 2006 performance.

         11.     The Company did not achieve any of these objectives. Rather, between the close

  of Step One and Step Two, the Company’s financial and operating performance continued to

  deteriorate as significantly as it did rapidly. As a result, financial and industry analysts

  repeatedly downgraded their expectations for the Company’s performance, Tribune’s stock price

  traded below $23 (a discount of more than 25% to the tender offer price of $34 per share), and

  Tribune’s bond prices fell to almost 50 cents on the dollar for certain tranches of Tribune’s

  longer-term debt.

         12.     Market watchers and the media had long predicted, and widely publicized, that

  the LBO would ruin Tribune. It did. Before the close of Step Two, it was clear that the

  Company would be unable to meet its operating expenses from existing resources and shortly

  would be in a full-blown liquidity crisis. Less than one year later, buried in debt, and facing a

  bleak future of looming debt maturities and overwhelming interest payments, Tribune and the

  majority of its subsidiaries jointly filed for bankruptcy on December 8, 2008 (the “Petition

  Date”).

         13.     The jointly administered bankruptcy cases are currently pending in the United

  States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), Case No. 08-

  13141 (KJC). On April 25, 2011, the Bankruptcy Court entered an order (the “Standing

  Order”) that, in pertinent part: (a) granted Plaintiffs relief from the automatic stay, to the extent



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  it is applicable, to commence this action and accomplish service; and (b) ordered that this action

  shall be automatically stayed pending further order of the Bankruptcy Court. Notwithstanding

  the foregoing, the Standing Order expressly authorized Plaintiffs immediately to pursue, among

  other things, discovery as necessary to prevent any applicable statutes of limitation or time-

  related defenses from barring the claims asserted in this action. A copy of the Standing Order is

  appended hereto as Exhibit B.

         14.     On June 28, 2011, the Bankruptcy Court entered an order (the “Clarification

  Order”) that supplemented the Standing Order and, in pertinent part, authorized any party to

  move pursuant to 28 U.S.C. § 1407 to consolidate or coordinate this action with any or all of the

  other related actions commenced by Plaintiffs. A copy of the Clarification Order is appended

  hereto as Exhibit C.


                                           THE PARTIES

  I.     Plaintiffs

         15.     Plaintiff DBTCA is a trust company that is incorporated, and has its principal

  place of business, in the State of New York. DBTCA is the successor indenture trustee for, and

  has been duly designated to prosecute and resolve the claims asserted herein on behalf of the

  holders of, the following debt securities issued by Tribune:

                 (a)     the 6.25% Notes due November 10, 2026, pursuant to the indenture, dated

         as of March 1, 1992, between Tribune and Citibank, N.A. (“Citibank”) as trustee,

         successor to The Bank of New York (“BNY”), Bank of Montreal Trust Company

         (“BMT”), and Continental Bank, N.A.;




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                 (b)    the 7.25% Debentures due March 1, 2013, pursuant to the indenture, dated

         as of January 30, 1995 (the “1995 Indenture”), between Tribune, successor to The Times

         Mirror Company (“Times Mirror”), and Citibank as trustee, successor to BNY, Wells

         Fargo Bank, N.A. and First Interstate Bank of California;

                 (c)    the 7.50% Debentures due July 1, 2023, pursuant to the 1995 Indenture;

                 (d)    the 4.875% Notes due August 15, 2010, pursuant to the indenture, dated as

         of January 1, 1997 (the “1997 Indenture”), between Tribune and Citibank, as trustee,

         successor to BMT;

                 (e)    the 5.25% Notes due August 15, 2015, pursuant to the 1997 Indenture; and

                 (f)    the 5.67% Notes due December 8, 2008, pursuant to the 1997 Indenture.

         16.     Plaintiff Law Debenture is a trust company that is incorporated, and has its

  principal place of business, in the State of New York. Law Debenture is the successor indenture

  trustee to DBTCA for, and has been duly designated to prosecute and resolve the claims asserted

  herein on behalf of, the holders of the following debt securities issued by Tribune:

                 (a)    the 6.61% Debentures due September 15, 2027, pursuant to the indenture,

         dated as of March 19, 1996 (the “1996 Indenture”), by and between Tribune, successor

         to Times Mirror, and Citibank, as trustee; and

                 (b)    the 7.25% Debentures due November 15, 2096, pursuant to the 1996

         Indenture.

         17.     The debt securities referred to in the two preceding paragraphs collectively have a

  total face amount of approximately $1.263 billion, and collectively are referred to herein as the




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  “Senior Notes.” As of the Petition Date, Tribune owed $1.283 billion, exclusive of accrued

  post-petition interest, to the holders of the Senior Notes.

          18.    Plaintiff Wilmington Trust is a trust company that is incorporated, and has its

  principal place of business, in the State of Delaware. Wilmington Trust is the successor

  indenture trustee for, and has been duly designated to prosecute and resolve the claims asserted

  herein on behalf of the holders of Exchangeable Subordinated Debentures due 2029 (the

  “PHONES Notes”), pursuant to the indenture, dated as of April 1, 1999 between Tribune and

  BMT, as trustee. As of the Petition Date, Tribune owed $1.197 billion, exclusive of accrued

  post-petition interest, to the holders of the PHONES Notes.

          19.    The holders of the Senior Notes and the PHONES Notes, as well as their

  respective successors and assigns, collectively are referred to herein as the “Pre-LBO

  Noteholders.” The Pre-LBO Noteholders have unsatisfied claims against Tribune for the

  payment of money on account of the Senior Notes and the PHONES Notes in an amount of no

  less than $2.480 billion (the “Pre-LBO Noteholder Claims”), exclusive of accrued post-petition

  interest.

          20.    At the time the Step One Shareholder Transfers were made, the Senior Notes and

  the PHONES Notes were issued and outstanding.

          21.    At the time the Step Two Shareholder Transfers were made, the Senior Notes and

  the PHONES Notes were issued and outstanding.

  II.     Defendants

          22.    The caption hereof, as supplemented by the information contained in Exhibit A

  appended hereto and incorporated by reference herein, constitutes a list of defendants who are



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   named parties to this action (collectively, the “Named Shareholder Defendants”), each of

   whom:

                  (a)     either– (i) was a legal or beneficial owner of Tribune’s common stock that

           was purchased, repurchased, or redeemed by Tribune in connection with the LBO, or (ii)

           received proceeds of the Shareholder Transfers; and

                  (b)     either is– (i) a natural person who resides in or is domiciled in the State of

           Colorado (this “State”), (ii) a juridical entity that is incorporated, organized, established,

           headquartered, or conducts or is licensed to conduct business within this State, or (iii) a

           natural person or juridical entity that, upon information or belief, in person or through a

           partner, member, trustee, agent, or affiliate, (A) regularly transacts or solicits business in

           this State, (B) derives substantial revenue from goods used or services rendered in this

           State, (C) derives substantial revenue from interstate or international commerce, or (D)

           maintains relations to or engages in any other persistent course of conduct in this State

           sufficient to afford a basis for the exercise of personal jurisdiction.

           23.    Exhibit A includes each Named Shareholder Defendant’s address and, upon

   information and belief and where available, the dates and dollar amounts of proceeds of the

   Shareholder Transfers received by each such defendant, and, where applicable, the capacity in

   which such defendant is being sued. To comply with a protective order entered by the

   Bankruptcy Court, Plaintiffs concurrently have moved this Court for an order to seal Exhibit A.

           24.    Does 1 through 5,000 (collectively, the “Doe Defendants”) are natural persons or

   juridical entities, other than the Named Shareholder Defendants, each of whose identity presently

   is unknown to Plaintiffs and each of whom both:



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                  (a)     may be a necessary or proper party to this action; and

                  (b)     is either– (i) a natural person who resides in or is domiciled in this State,

          (ii) a juridical entity that is incorporated, organized, established, headquartered, or

          licensed to conduct business within this State, or (iii) a natural person or juridical entity

          that, upon information or belief, in person or through a partner, member, trustee, agent, or

          affiliate, (A) regularly transacts or solicits business in this State, (B) derives substantial

          revenue from goods used or services rendered in this State, (C) derives substantial

          revenue from interstate or international commerce, or (D) maintains relations to or

          engages in any other persistent course of conduct in this State sufficient to afford a basis

          for the exercise of personal jurisdiction.

          25.     Defendant Maxim Series Fund Inc. is a corporation that is incorporated in the

   State of Maryland and, upon information and belief, has its principal place of business in this

   State. Maxim Series Fund Inc., through its Maxim T. Rowe Price Equity/Income Portfolio and

   other portfolios: (a) was a legal or beneficial owner of Tribune’s common stock that was

   purchased, repurchased, or redeemed by Tribune in connection with Step One or Step Two; or

   (b) received proceeds of the Shareholder Transfers.

          26.     Defendant Edward J. Sidney, as Trustee for The Edward J. Sidney Trust U/A

   07/22/76, is a natural person who resides in this State. Edward J. Sidney, as Trustee for The

   Edward J. Sidney Trust U/A 07/22/76: (a) was a legal or beneficial owner of Tribune's common

   stock that was purchased, repurchased, or redeemed by Tribune in connection with Step One or

   Step Two; or (b) received proceeds of the Shareholder Transfers.




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          27.     Defendant Fred Martell is a natural person who resides in this State. Fred

   Martell: (a) was a legal or beneficial owner of Tribune’s common stock that was purchased,

   repurchased, or redeemed by Tribune in connection with Step One or Step Two; or (b) received

   proceeds of the Shareholder Transfers.

          28.     Defendant Donald Rooney is a natural person who resides in this State. Donald

   Rooney: (a) was a legal or beneficial owner of Tribune’s common stock that was purchased,

   repurchased, or redeemed by Tribune in connection with Step One or Step Two; or (b) received

   proceeds of the Shareholder Transfers.

          29.     Defendant Jeffrey Schatz is a natural person who resides in this State. Jeffrey

   Schatz: (a) was a legal or beneficial owner of Tribune’s common stock that was purchased,

   repurchased, or redeemed by Tribune in connection with Step One or Step Two; or (b) received

   proceeds of the Shareholder Transfers.

          30.     The defendants named in paragraphs 25 through 29 collectively are referred to

   herein as the “Shareholder Class Representatives”. Each of the Shareholder Class

   Representatives is named: (a) individually as– (i) a legal or beneficial owner of Tribune’s

   common stock that was purchased, repurchased, or redeemed by Tribune in connection with the

   LBO, or (ii) a recipient of proceeds of the Shareholder Transfers; and (b) in its capacity as a

   representative for all Shareholder Class Members (as hereinafter defined).


                                       CLASS ALLEGATIONS

          31.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs seek

   certification of a defendant class (the “Shareholder Class”) comprising:

                  All natural persons and juridical entities, other than Excluded


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                    Persons (as hereinafter defined), that: (a) either– (i) were legal or
                    beneficial owners of Tribune’s common stock that was purchased,
                    repurchased, or redeemed by Tribune in connection with the LBO,
                    or (ii) received proceeds of the Shareholder Transfers; and (b)
                    either– (i) reside in or are domiciled in this State, (ii) are
                    incorporated, organized, established, or conduct or are licensed to
                    conduct business within this State, or (iii) in person or through a
                    partner, member, trustee, agent, or affiliate, (A) regularly transact
                    or solicit business in this State, (B) derive substantial revenue from
                    goods used or services rendered in this State, (C) derive substantial
                    revenue from interstate or international commerce, or (D) maintain
                    relations to or engage in any other persistent course of conduct in
                    this State sufficient to afford a basis for the exercise of personal
                    jurisdiction.

          32.       The following natural persons and juridical entities (the “Excluded Persons”) are

   excluded from the Shareholder Class:

                    (a)    all Named Shareholder Defendants (other than the Shareholder Class

          Representatives) that are effectively served with a summons and complaint within the

          time period required by Rule 4(m) of the Federal Rules of Civil Procedure or as extended

          by this Court; and

                    (b)    all named defendants properly sued in any other action commenced by

          Plaintiffs to avoid and recover the transfer of any proceeds received in connection with

          the LBO that are effectively served with a summons and complaint within the time period

          required by Rule 4(m) of the Federal Rules of Civil Procedure or as extended by any

          other courts.

          33.       Upon information and belief, the Shareholder Class comprises no fewer than 400

   natural persons and juridical entities (each, a “Shareholder Class Member”). Because of the

   large number of Shareholder Class Members, joinder of all such defendants in a single action is

   impracticable.


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          34.     Numerous questions of law and fact are common to all Shareholder Class

   Members. These common questions of law and fact include, but are not limited to:

                  (a)    Whether Tribune received reasonably equivalent value or fair

          consideration in exchange for the Shareholder Transfers;

                  (b)    Whether, at the time the Shareholder Transfers were made or as a result of

          making the Shareholder Transfers, the sum of Tribune’s debts was greater than all of

          Tribune’s assets at a fair valuation;

                  (c)    Whether, at the time the Shareholder Transfers were made, Tribune was

          engaged in a business or a transaction, or was about to engage in business or a

          transaction, for which Tribune was left with unreasonably small capital in relation to the

          business or transaction; and

                  (d)    Whether, at the time the Shareholder Transfers were made, Tribune

          intended to incur, or believed or reasonably should have believed that it would incur,

          debts that would be beyond its ability to pay as such debts matured.

          35.     Any claims against and claimed defenses of the Shareholder Class

   Representatives are typical of the claims against and claimed defenses of the Shareholder Class

   Members. The claims against and claimed defenses of the Shareholder Class Members arise out

   of the same factual circumstances involving the LBO and the Shareholder Transfers.

          36.     The Shareholder Class Representatives collectively face an approximate risk of

   loss of at least $7,086,926. Therefore, the Shareholder Class Representatives will fairly and

   adequately protect the interests of the Shareholder Class Members and have as much or more




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   incentive to vigorously defend against the claims asserted herein than would any Shareholder

   Class Member individually.

           37.     The various claims asserted on a class basis in this action are properly certifiable

   pursuant to Rule 23(b)(1) of the Federal Rules of Civil Procedure because prosecuting separate

   actions by or against each Shareholder Class Member would create a risk of: (a) inconsistent or

   varying adjudications with respect to each Shareholder Class Member that would establish

   incompatible standards of conduct; or (b) adjudications with respect to each Shareholder Class

   Member that, as a practical matter, would– (i) be dispositive of the interests of the other

   Shareholder Class Members not parties to the individual adjudications, or (ii) substantially

   impair or impede the ability of other Shareholder Class Members not parties to the individual

   adjudications to protect their interests.

           38.     The various claims asserted on a class basis in this action are properly certifiable

   pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure because: (a) the questions of

   law or fact common to the Shareholder Class Members predominate over any questions affecting

   only Shareholder Class Members individually; and (b) a defendant class action is superior to

   other available methods for fairly and efficiently adjudicating this controversy. A defendant

   class action will avoid — and be far more efficient than prosecuting — a multiplicity of

   individual adjudications with respect to each Shareholder Class Member, thereby conserving the

   resources of the parties and of the Court.


                                     JURISDICTION AND VENUE

           39.     On June 2, 2011, Plaintiffs commenced this action in this Court as Civil Action

   No. 11-cv-01439-MSK. On June 23, 2011, this Court dismissed this action, sua sponte and


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   without prejudice, for failure to adequately allege subject matter jurisdiction. This action has

   been refiled timely pursuant to C.R.S. § 13-80-111, as well as 735 ILL. COMP. STAT. 5/13-217

   and MASS. GEN. LAWS ch. 260, § 32.

           40.     Pursuant to 28 U.S.C. § 1334(b), this Court has original subject-matter

   jurisdiction over this action because it is “related to” the jointly administered Tribune bankruptcy

   cases currently pending in the Bankruptcy Court insofar as, among other things: (a) this action

   was commenced pursuant to the Standing Order issued by the Bankruptcy Court; (b) the

   Bankruptcy Court has retained jurisdiction to hear and decide disputes relating to or arising from

   the Standing Order; and (c) a judgment in favor of Plaintiffs in this action, which provides them

   with an additional source of recovery, may affect the ultimate distributions Plaintiffs are entitled

   to receive on account of their allowed claims from– (i) the Tribune bankruptcy estates and (ii)

   litigation trusts to be established under any confirmed plan of reorganization.

           41.     This Court has personal jurisdiction over each of the Named Shareholder

   Defendants, each of the Doe Defendants, each of the Shareholder Class Representatives, and

   each of the Shareholder Class Members (collectively, the “Shareholder Defendants”) because

   each is: (a) a natural person who resides in or is domiciled in this State; (b) a juridical entity that

   is incorporated, organized, established, headquartered, or conducts or is licensed to conduct

   business within this State; or (c) a natural person or juridical entity that, upon information or

   belief, in person or through a partner, member, trustee, agent, or affiliate, (A) regularly transacts

   or solicits business in this State, (B) derives substantial revenue from goods used or services

   rendered in this State, (C) derives substantial revenue from interstate or international commerce,




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   or (D) maintains relations to or engages in any other persistent course of conduct in this State

   sufficient to afford a basis for the exercise of personal jurisdiction.

           42.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) because: (a) a

   substantial part of the events or omissions giving rise to the claims in this action occurred, or a

   substantial part of the property that is the subject of this action is situated, in this District; or (b)

   at least one or more of the Shareholder Defendants was subject to the personal jurisdiction of this

   Court at the time the action was commenced, and there was no other district in which this action

   may otherwise have been brought.


                                       FACTUAL BACKGROUND

   I.      The Company’s Business and Historical Performance

           43.     Founded in 1847, Tribune reaches more than 80% of U.S. households through its

   newspapers and other publications, its television and radio broadcast stations and cable channels,

   and its other entertainment offerings. Headquartered in Chicago, Illinois, Tribune’s operations

   are conducted through two primary business segments. Tribune’s publishing segment owns

   major newspapers in many of the most significant markets in the United States, including

   the Chicago Tribune, the Los Angeles Times, the Baltimore Sun, the South Florida Sun-

   Sentinel, the Orlando Sentinel, and Newsday. Tribune’s broadcasting and entertainment

   segment owns numerous radio and television stations in major markets.

   II.     The Company’s Financial Condition Deteriorates and the Shareholders Begin
           Agitating for Change

           44.     In June 2000, Tribune merged with Times Mirror, which was owned by the

   Chandler family. As a result of this merger, the Chandler family, through Chandler Trust No. 1



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   and Chandler Trust No. 2 (collectively, the “Chandler Trusts”), became Tribune’s second

   largest shareholder and was awarded three seats on the Tribune Board.

          45.     The market did not react well to the merger with Times Mirror and, over the

   course of the next few years, the Company experienced a steady decline in revenues,

   profitability, and its stock price. In response, Tribune took repeated steps to reduce costs by

   liquidating assets and shedding jobs. But the numbers continued to drop. By 2006, the

   Company’s profitability was exhibiting quarter-over-quarter declines compared to both 2004 and

   the majority of 2005.

          46.     In or about February 2006, the Chandler Trusts’ patience ran out and they began

   to complain about the Company’s performance and to criticize the Tribune Board. The Chandler

   Trusts admonished the Tribune Board that, absent an upturn in Tribune’s stock price, the

   Chandler Trusts would themselves begin exploring a “fundamental transaction” involving

   Tribune.

          47.     In May 2006, the Tribune Board decided to engage in a leveraged recapitalization

   pursuant to which it would borrow money to repurchase up to 75 million shares of its common

   stock. The Chandler Trusts’ three representatives on the Tribune Board, however, voted against

   the transaction.

          48.     In a publicly filed letter to the Tribune Board on June 13, 2006, the Chandler

   Trusts advised that they would not participate in the planned repurchase. The Chandler Trusts

   complained that “[o]ver the past two years, Tribune has significantly underperformed industry

   averages and there is scant evidence to suggest the next two years will be any different.” The

   Chandler Trusts explained that “[t]he gravity of management’s failure to address fundamental



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   strategic issues is apparent from the precipitous decline in stock value over the past three and a

   half years. . . . [S]ince the beginning of 2003 (when current management of Tribune was put into

   place), the value of Tribune’s stock has declined over 38% — substantially worse than both the

   newspaper peer group (down 8.8%) and the broadcasting peer group (down 29%).” The

   Chandler Trusts added that “it is the time for prompt, comprehensive action.”

             49.   On June 27, 2006, Tribune nonetheless announced that it had elected to proceed

   with the repurchase of 55 million shares through a public tender offer and a private transaction

   (the “2006 Repurchase”) with the Robert R. McCormick Tribune Foundation and the Cantigny

   Foundation (collectively, the “Foundations” and, together with the Chandler Trusts, the “Large

   Shareholders”) at a cost of nearly $1.8 billion which was financed with debt. As a result of the

   2006 Repurchase, the Chandler Trusts became Tribune’s largest stockholders and the

   Foundations continued to be major shareholders.

             50.   Unfortunately, the 2006 Repurchase failed to raise Tribune’s stock price. To

   make matters worse, as a result of the 2006 Repurchase, the Company’s debt materially

   increased by almost 50% and Moody’s Investors Service cut Tribune’s bond rating to “junk”

   status.

             51.   After the failed 2006 Repurchase, the Large Shareholders redoubled their efforts

   to effect change at Tribune. Because of the Chandler Trusts’ publicly expressed discontent and

   their increasing pressure on management, in September 2006, the Tribune Board announced that

   it had established a special committee to oversee management’s exploration of transactions that

   might maximize the value of Tribune stock.




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   III.    The LBO is Proposed and Approved

           52.     In late January 2007, billionaire investor Zell emerged as a potential buyer for

   Tribune. Before Zell’s emergence on the scene, the Tribune Board had been considering

   transactional alternatives to placate the Large Shareholders, including a possible sale of the entire

   Company or select assets, as well as an internal recapitalization.

           53.     Zell proposed a wholly new option. On or about February 6, 2007, Zell wrote to

   the Tribune Board and proposed to acquire Tribune in an LBO transaction.

           54.     Under Zell’s proposal, the Company would borrow nearly $11 billion — while

   Zell would invest just $315 million of his own money — to buy out the Shareholders. In other

   words, Zell sought to acquire the Company by putting up less than 3% of the risk capital and

   shifting all of the risk of the transaction onto the shoulders of the Company’s existing creditors.

           55.     On March 10, 2007, management informed Zell that it was skeptical of

   proceeding with his LBO proposal because of its high degree of leverage. Only a week before

   the LBO was announced, a senior Tribune officer wrote to Tribune’s treasurer after reviewing

   financial projections: “[I]f I am reading this right, we have a pretty narrow band for success

   under the [deal]–i.e., if we are off plan by 2% we have no value in the ESOP for 5 years.” The

   treasurer responded and confirmed: “yes, if we hit the down 2 case there is no equity value in the

   first 5 yrs.”

           56.     However, the prospect of obtaining a windfall for themselves and the

   Shareholders was too hard to resist. Management dismissed the concerns over the Company’s

   financial future and approved the LBO on April l, 2007.

           57.     The merger agreement contemplated a single transaction in two steps. In



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   connection with Step One, Tribune would purchase 52% of Tribune’s common stock in a tender

   offer at the premium price of $34 per share. In connection with Step Two, Tribune would

   purchase all of the remaining Tribune common stock at the same premium price of $34 per share

   in a merger that would ultimately take Tribune private. To finance the deal, the Company

   committed to borrow nearly $11 billion — more than $8.2 billion of which was funneled to the

   Shareholders as Shareholder Transfers. The remainder of the loan proceeds was used to pay

   lender and advisor fees, transaction costs and expenses, and to refinance the debt incurred in

   connection with the 2006 Repurchase.

           58.    Notwithstanding its two-step structure, the LBO was conceived, promoted, and

   proceeded as (and, in economic reality, was) an integrated transaction in which neither Step One

   nor Step Two was intended to occur on its own. In fact, had there been a way to structure the

   LBO so that only a single step were necessary, the LBO would have been structured accordingly.

           59.    The Tribune Board approved both Step One and Step Two at the same time, and

   promoted the LBO as a single transaction, indicating that management intended both steps to

   constitute one integrated transaction. For example, on April 2, 2007, Tribune publicly

   announced that it had agreed to the Zell proposal. Tribune’s press release stated, in pertinent

   part:

                  With the completion of its strategic review process, Tribune
                  Company today announced a transaction which will result in the
                  company going private and Tribune shareholders receiving $34 per
                  share. Sam Zell is supporting the transaction with a $315 million
                  investment. Shareholders will receive their consideration in a two-
                  stage transaction.

                  Upon completion of the transaction, the company will be privately
                  held, with an Employee Stock Ownership Plan (‘ESOP’) holding
                  all of Tribune’s then outstanding common stock and Zell holding a


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                  subordinated note and a warrant entitling him to acquire 40 percent
                  of Tribune’s common stock. Zell will join the Tribune board upon
                  completion of his initial investment and will become chairman
                  when the merger closes.

                  The first stage of the transaction is a cash tender offer for
                  approximately 126 million shares at $34 per share. The tender
                  offer will be funded by incremental borrowings and a $250 million
                  investment from Sam Zell . . . .

                  The second stage is a merger expected to close in the fourth quarter
                  of 2007 in which the remaining publicly-held shares will receive
                  $34 per share. Zell will make an additional investment of
                  $65 million in connection with the merger, bringing his investment
                  in Tribune to $315 million.

          60.     The primary structural mechanism used to execute the LBO was created for the

   sole purpose of generating certain tax benefits. Those benefits, however, could only be realized

   upon consummation of Step Two. Thus, the LBO made economic sense only if Step Two closed

   and the anticipated tax savings could be realized.

          61.     The lenders that financed the LBO analyzed Step One and Step Two concurrently,

   and the commitment letters for both steps of the transaction were executed at the same time,

   cross-referenced each other, and obligated the lenders to provide financing for Step One and Step

   Two. Moreover, the same exact lenders financed both steps of the LBO pursuant to a single

   credit agreement that interlocked the financing of both steps with a loss-sharing provision and

   based the fees and interest rate associated with the Step One loans upon the Company’s debt load

   following Step Two. On March 28, 2007, Tribune’s treasurer instructed that a draft press release

   should state that “Tribune has received committed financing from Citigroup, Merrill Lynch and

   JPMorgan sufficient to complete both steps of the transaction.”

          62.     As was widely acknowledged by all of the parties involved, shareholder approval




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   for the LBO was virtually guaranteed from the LBO’s inception as a result of a voting agreement

   with the Chandler Trusts. Indeed, after Tribune purchased half of its outstanding common stock

   in connection with Step One, nearly half of the remaining shares were held by the Large

   Shareholders and others directly under Zell’s control.

          63.     At Tribune’s shareholder meeting on August 21, 2007, almost 65% of Tribune’s

   common stock outstanding (and 97% of the shares that were voted) approved Step Two. In the

   press release announcing the results of the shareholder vote, Tribune’s former Chairman and

   CEO was quoted as saying, “With financing fully committed, we anticipate closing the

   transaction in the fourth quarter, following FCC approval and satisfaction of the other closing

   conditions.”

          64.     The parties and industry experts also believed that the LBO would obtain

   regulatory approval from the FCC, one of the closing conditions. As recognized by rating

   agencies and news analysts, FCC approval in these circumstances was expected. On May 3,

   2007, for example, Fitch Ratings reported its view that the necessary regulatory approvals

   associated with Step Two would be obtained.

   IV.    The Disastrous Consequences of the LBO were Foreseeable (and Foreseen)

          65.     The Shareholders approved the LBO — and reaped the financial benefits of the

   Shareholder Transfers — even though they knew, should have known, or had reason to know

   that it would render Tribune insolvent, inadequately capitalized, or unable to satisfy its

   obligations. Indeed, as made clear by a cascade of contemporaneous news reports and ratings

   downgrades, the generally unfavorable reaction to the LBO came swiftly and loudly.




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          66.       On April 3, 2007 — just one day after the deal was announced — a Goldman

   Sachs analyst reported that “with estimated annual interest expense of over $1bn/yr and

   estimated EBITDA of $1.3bn, the transaction leaves little room for error, particularly in this

   challenging newspaper operating environment.” The analyst pointed out that the LBO’s high

   leverage left Tribune in a “precarious financial position.”

          67.        A Lehman Brothers analyst reported on April 26, 2007 that the “[p]roposed deal

   leaves TRB with debt-to-2007E-EBITDA of 11.5x . . . which we believe is far too high for

   secularly declining businesses. . . . Debt payments should overwhelm EBITDA, by our

   calculations.”

          68.       On March 16, 2007, that same Lehman Brothers analyst warned that “putting this

   much debt on Tribune’s newspapers and TV stations is way too risky and makes it very possible

   to put the company into bankruptcy with or without the added tax savings” that Zell anticipated.

          69.       On March 29, 2007, Standard & Poor’s had a similar prediction and sent a letter

   to Tribune’s treasurer, stating that it would downgrade Tribune’s credit rating because “the

   company is expected to default in 2009 when its cash flow and revolving credit capacity are

   unable to cover its interest expense, capital expenditures, and working capital needs.”

          70.       On August 14, 2007, a Lehman Brothers analyst once again warned:

                    [W]e continue to think the probability of significant financial
                    difficulty at Tribune is much, much greater than 50%/50% —
                    given the secularly declining fundamentals and the large amount of
                    leverage involved which is currently at 9.6 times 2008E EBITDA
                    and would rise to nearly 12 times if the second tranche occurs. . . .
                    So by our calculations, if the second tranche of the privatization
                    deal happens, the company will not be able to cover the estimated
                    annual interest expense from operations let alone have excess free
                    cash flow to pay down debt each year.



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   The analyst’s cautionary warnings, of course, proved accurate.

          71.      Spooked by the enormous leverage being foisted upon the Company in

   connection with the LBO, all of the major rating agencies consistently and continuously

   downgraded Tribune’s debt ratings — ultimately to “junk” or “near junk” status — on nearly a

   dozen occasions from the time the deal was announced until Tribune filed for bankruptcy.

          72.      Financial analysts and rating agencies were not alone in recognizing the

   devastating consequences of the proposed LBO. As soon as the LBO was announced, a growing

   chorus of news outlets also began reporting the substantial risk of the proposed transaction,

   openly questioned the proposal’s soundness, and highlighted the crushing debtload that the LBO

   would create.

          73.      For example, on April 2, 2007, the Baltimore Sun — one of Tribune’s own

   newspapers — questioned the wisdom of the proposed LBO: “The deal, which would return

   Tribune to private ownership, would make the company one of the most heavily indebted

   enterprises in the media industry at a time of falling readership and declining advertising

   revenues.” Tribune’s rivals were “dumbfounded” by the deal, observed the reporter.

          74.      On April 3, 2007, Bloomberg News quoted an industry analyst who stated that,

   for the LBO to succeed, Tribune either had to significantly cut costs or experience “significant

   growth.” The analyst remarked that “There just isn’t a scenario that shows how this industry or

   this company is going to get significantly better.” The article essentially predicted that, absent a

   miracle, Tribune could not survive the LBO.




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          75.     The very same day, The New York Times reported that the proposed sale came

   with some “big risks,” observing that the LBO “would saddle the company with $13 billion in

   debt even as advertising sales and circulation decline.”

          76.     In an April 4, 2007 article entitled “How Will Tribune Pay Its Debts?” the Wall

   Street Journal quoted a Barclays Capital analyst who indicated that “We think it is possible that

   Tribune is leveraged higher than the total assets of the company after taxes.”

          77.     On April 6, 2007, The New York Times characterized the proposed LBO as “one

   of the most absurd deals ever.”

          78.     On April 16, 2007, Businessweek also raised serious concerns as to the highly

   leveraged nature of the proposed LBO:

                  How leveraged? The just-announced deal orchestrated by investor
                  Sam Zell leaves the company with more than $13 billion in debt.
                  To put that in its proper perspective, Tribune’s cash flow in ‘06—
                  earnings before interest, taxes, depreciation, and amortization, or
                  EBITDA—was $1.3 billion. Thus its debt exceeds last year’s
                  EBITDA by about ten times. This is an angina-inducing multiple
                  even for veteran media players accustomed to playing with debt,
                  some of whom get nervous above six. And Tribune’s cash flow
                  comes in large part from big-city Old Media properties, which are
                  not noted for their stability right now. (Tribune’s revenues
                  declined by more than 5% in February.)




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          79.     On December 3, 2007, Barron’s echoed this concern, reporting that “[t]he

   combination of a weakening economy and heavy debt loads is causing trouble for many

   companies that went private in leveraged buyouts since the start of 2006.” While noting the

   general increase in risk of LBOs, Barron’s called-out Tribune in particular: “One pending LBO

   that could be a financial disaster is Tribune (TRB).”

          80.     Financial-market participants also recognized, almost immediately, that Tribune

   inevitably would crumble under the weight of the debtload imposed by the LBO. Prices for

   Tribune credit-default swaps (“CDS”), a form of “insurance” that would pay out if Tribune

   defaulted on its obligations, skyrocketed on the day the LBO was announced and continued to

   soar through the close of Step Two.

          81.     A June 7, 2007 Bloomberg News article chronicled the ever-increasing price of a

   Tribune CDS, and the ever-increasing risk of the LBO to Tribune’s creditors:

                  Leveraged buyouts are financed by adding debt onto the target
                  company, increasing the risk that existing bonds and loans may not
                  be repaid. In Tribune’s case, the perceived risk of owning its 5-
                  year bonds tripled after Zell’s buyout was reported, based on
                  credit-default swap prices.

          82.     On July 20, 2007, Bloomberg News reiterated what the climbing CDS price

   indicated in terms of Tribune’s chances of survival after the LBO:

                  Tribune Co. has a 50-50 chance of missing interest payments on
                  some of the $13 billion in debt it will have after real estate investor
                  Sam Zell buys the company, trading in the company’s credit-
                  default swaps shows.




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                  Prices of the swaps, financial contracts used to speculate on a
                  company’s ability to repay debt, have jumped $331,000 since the
                  first step in the sale was completed in May. It costs $770,000 to
                  protect $10 million of Tribune bonds for five years, according to
                  CMA Datavision, indicating a more than 50 percent risk of default.
                  That’s up from 32 percent on May 24, based on a JPMorgan Chase
                  & Co. pricing model.

   The article went on to explain that “Tribune swaps prices imply investors consider the company

   the fourth-riskiest debt issuer among the almost 1,200 worldwide whose credit-default swaps

   were quoted this week by London-based CMA.”

          83.     Although the risks to the Company’s creditors were apparent, the Shareholders

   overwhelmingly supported the LBO: 92% of Tribune’s stock was tendered at Step One, and 97%

   percent of voting Shareholders voted in favor of Step Two. An August 21, 2007 article in Medill

   Reports quoted one Tribune shareholder who succinctly summarized the Shareholders’ rationale

   for approving the deal: “If you’re making money on [the deal], sure, what the hell.”

   V.     The Company’s Financial Impairment and Flawed Solvency Opinions

          84.     Because of the Company’s moribund financial prospects and the extraordinarily

   leveraged nature of the LBO, one of the closing conditions — securing viable solvency opinions

   in connection with both Step One and Step Two — was poised to jeopardize the deal. And

   finding a firm to provide the requisite opinions turned out to be no easy task. Indeed, Valuation

   Research Corporation (“VRC”), the financial advisory firm that ultimately provided Tribune

   with the necessary solvency opinions, was the last-ditch choice for Tribune after other firms

   declined the engagement.

          85.     Tribune first approached Houlihan Lokey Howard & Zukin (“Houlihan”), a

   prominent solvency opinion firm. Houlihan, however, expressed serious reservations regarding



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   its ability to provide a solvency opinion in connection with such a highly leveraged transaction

   and declined even to accept the engagement. Tribune scrambled to find another firm that might

   provide the necessary opinions.

          86.     VRC was aware of Houlihan’s reservations about the proposed LBO and

   recognized that Houlihan’s reluctance raised the risk profile associated with the project. Due to

   the risk attached to the highly leveraged deal, and Houlihan’s disinclination to get involved,

   VRC was able to demand among the highest fees VRC had ever received for solvency opinion

   work. In exchange, VRC provided the Tribune Board with: (a) written opinions, dated May 9,

   2007, and May 24, 2007, as to the solvency and capital adequacy of the Company after giving

   effect to Step One; and (b) a written opinion, dated December 20, 2007, as to the solvency and

   capital adequacy of the Company after giving effect to Step Two.

          87.     Two uncommon aspects of VRC’s engagement are noteworthy. First, VRC was

   instructed to ignore the generally accepted definition of “fair value” and, instead, to measure fair

   value in relation to a willing buyer and a willing seller both of whom receive the favorable

   federal income tax treatment of the ESOP. As a result of this built-in limitation, VRC never

   offered any opinion as to whether Tribune or the Company would be solvent if it were to be

   acquired by an entity that did not receive the uniquely favorable federal income tax treatment.

   Second, VRC was excused from the typical obligation to affirmatively investigate and

   skeptically evaluate any information provided by management. Consequently, VRC never

   independently assessed the (un)reasonableness of management’s unjustifiably optimistic

   projections upon which all of VRC’s solvency opinions were based.




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          (A)      Step One

          88.      VRC’s Step One solvency analysis in May 2007 was based upon financial

   projections that were finalized by management and approved by the Tribune Board in February

   2007 (the “February Projections”).

          89.      The February Projections were substantially higher than the Company’s actual

   operating results. For the three months from March through May 2007, publishing revenues and

   earnings were below plan by $50.6 million and $29.7 million, respectively. During the same

   period, broadcasting revenues and earnings were below plan by $9.4 million and $4.6 million,

   respectively.

          90.      Management, who received weekly “flash reports,” was fully aware that the

   February Projections were outdated and unreliable almost immediately after they were finalized

   and approved. Despite this awareness, management persistently declined to revise and update

   the February Projections until long after Step One had closed.

          91.      As a result of the foregoing, the February Projections were unreasonable and

   unreliable. Notwithstanding management’s acknowledgements that the Company’s actual results

   were lagging the February Projections, those projections were not updated before VRC’s Step

   One solvency opinions were issued. In fact, management failed to provide any updated financial

   projections to VRC until late September 2007.

          92.      The solvency opinions provided by VRC at Step One were substantially flawed

   and unreliable for a number of reasons, including but not limited to:

                   (a)    VRC blindly used the outdated, unreasonable, and unwarranted February

          Projections supplied by management without any critical analysis.



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                    (b)    VRC artificially separated the two steps of the LBO for purposes of its

          Step One solvency analysis despite the fact that the LBO was conceived of and promoted

          as a single, integrated transaction for which financing was fully committed.

                    (c)    VRC improperly modified the conventional definition of “fair market

          value” to mean that a “fair market” buyer would be structured to receive the same

          favorable tax treatment as the ESOP in connection with the LBO.

                    (d)    VRC inappropriately reduced the weight given to its discounted cash flow

          analysis and increased the weight given to its higher comparable transactions analysis to

          increase Tribune’s overall valuation.

                    (e)    VRC incorrectly assumed that Tribune would be able to refinance its debts

          as they matured.

          93.       As of June 4, 2007, the correct fair market value of the Company’s assets was

   approximately $10.99 billion. Tribune had obligated itself to consummate an LBO that would

   saddle it with debt and contingent liabilities of approximately $14.03 billion. As a consequence,

   and as of the closing of Step One, the Company was insolvent to the extent of approximately

   $3.04 billion.

          94.       Of course, the Company had been highly leveraged in comparison to its peers

   even before the LBO. After Step One, however, its debt-to-EBITDA ratio further skyrocketed to

   11.4 — more than six times that of its most highly leveraged competitor, and more than eight

   times that of the industry average. The Company’s debt-to-equity ratio (book value) plummeted

   below zero, to a ratio of approximately negative 3.5.




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          95.     The Company could not service the significant amount of leverage imposed by

   the LBO and lacked adequate capital liquidity to operate its business following Step One. The

   Company had an interest-coverage ratio of 1:1, the lowest among its peers, and was unlikely to

   be able to cover its interest expense. The Company’s operating cash flows were also insufficient

   to meet its debt service obligations.

          96.     Following Step One, the Company had insufficient capital resources to fund its

   operations and service its debt while maintaining an adequate cushion for reasonably foreseeable

   stresses, downturns, and contingencies.

          (B)     Step Two

          97.     VRC’s Step Two solvency analysis exhibited many of the same flaws and skewed

   assumptions as VRC’s Step One solvency analysis, including VRC’s novel and improper

   definition of “fair market value” and the inappropriate weighting that VRC assigned to its

   different valuation methodologies.

          98.     In addition, VRC’s Step Two solvency analysis in December 2007 was based

   upon unreasonable and unreliable financial projections that were updated by management and

   presented, in part, to the Tribune Board in October 2007 (the “October Projections”).

          99.     The October Projections were, to some degree and in the near-term, downward

   revisions of the February Projections. However, despite the continued deterioration of the

   Company’s performance after Step One closed, certain critical forecasts in the October

   Projections were dramatically revised upward from the February Projections.

          100.    For example, the October Projections assumed that, as early as 2009, Tribune’s

   internet-based business would generate significantly greater revenues than anticipated in the



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   February Projections and, thereby, mitigate the continuing decline in Tribune’s traditional

   publishing business. Yet, the internet-based business had already failed to meet management

   expectations in 2007.

            101.   The October Projections also forecasted that, beginning in 2013 and accelerating

   through 2017, the Company’s revenue would significantly outperform the February Projections

   on a consolidated basis. It was patently unreasonable, however, for the Company to assume that

   each of the five years following the 2012 election year would also enjoy the benefit of the bump

   in revenue occasioned by swells of political advertising.

            102.   As a result of the foregoing, the October Projections were unreasonable and

   unreliable. Nonetheless, VRC indiscriminately relied upon the October Projections when

   preparing its Step Two solvency opinion.

            103.   As of December 20, 2007, the correct fair market value of the Company’s assets

   was approximately $10.44 billion. The Company’s debt and contingent liabilities totaled

   approximately $13.76 billion. As a consequence, as of the closing of Step Two, the Company

   was insolvent to the extent of approximately $3.32 billion.

            104.   Following Step Two, the Company was excessively leveraged, experiencing a

   debt-to-EBITDA ratio that was nearly double that of its closest peer, and more than eight times

   higher than the average of its other peers. In addition, the Company was the only one of its peers

   that had a negative debt-to-equity ratio, and had the lowest interest-coverage ratio among its

   peers.




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   VI.    The Aftermath of the LBO

          105.    Because of the LBO, Tribune’s funded debtload soared from more than $5 billion

   to nearly $14 billion — ten times greater than the Company’s actual cash flow for 2006 or

   projected cash flow for 2007.

          106.    As was widely predicted by a cacophony of financial analysts, industry experts,

   rating agencies, market participants, and media outlets alike, the Company’s financial health

   deteriorated rapidly after the LBO closed. On July 14, 2008, for example, the Associated Press

   reported that the Los Angeles Times planned to cut 250 positions because the Company was

   “struggling to service th[e] debt” taken on in connection with the LBO. None of Tribune’s cost-

   cutting measures, however, could forestall the inevitable.

          107.    Buried in debt, and facing a bleak future of looming debt maturities and

   overwhelming interest payments, Tribune and its most valuable operating subsidiaries jointly

   filed for bankruptcy on December 8, 2008.

          108.    Tribune’s own publicly filed estimates in the Bankruptcy Court valued the

   Company at approximately $6.1 billion in 2010 — less than half of the Company’s debtload at

   the close of Step Two.

          109.    The Pre-LBO Noteholders have yet to receive payments on the Pre-LBO

   Noteholder Claims; and under the two plans of reorganization currently being considered before

   the Bankruptcy Court, the Pre-LBO Noteholders would receive initial distributions of only a

   small fraction of the money they are owed.




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                                           COUNT ONE
                                 (Constructive Fraudulent Transfer
                            Against the Named Shareholder Defendants
                            and the Shareholder Class Representatives,
                    individually and as representatives of the Shareholder Class
                      Pursuant to N.Y. DEBT. & CRED. LAW §§ 273, 278 & 279)

          110.    Plaintiffs repeat and reallege each and every allegation in all prior paragraphs,

   which are incorporated by reference as if set forth fully herein.

          111.    On or after June 4, 2007, Tribune transferred approximately $4.3 billion of Step

   One Shareholder Transfers to the Shareholders — including the Shareholder Defendants — in

   connection with Step One of the LBO.

          112.    On or about December 20, 2007, Tribune transferred approximately $4.0 billion

   of Step Two Shareholder Transfers to the Shareholders — including the Shareholder Defendants

   — in connection with Step Two of the LBO.

          113.    Tribune did not receive, and none of the Shareholder Defendants gave, fair

   consideration in exchange for the Shareholder Transfers.

          114.    At the time the Shareholder Transfers were made or as a result of making the

   Shareholder Transfers, the present fair salable value of Tribune’s assets was less than the amount

   that would have been required to pay Tribune’s probable liabilities on its existing debts as they

   became absolute and matured.

          115.    Accordingly, the Shareholder Transfers should be set aside and recovered to the

   extent necessary to satisfy the Pre-LBO Noteholder Claims.




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                                           COUNT TWO
                                 (Constructive Fraudulent Transfer
                            Against the Named Shareholder Defendants
                            and the Shareholder Class Representatives,
                    individually and as representatives of the Shareholder Class
                     Pursuant to N.Y. DEBT. & CRED. LAW §§ 274, 278, & 279)

          116.    Plaintiffs repeat and reallege each and every allegation in all prior paragraphs,

   which are incorporated by reference as if set forth fully herein.

          117.    On or after June 4, 2007, Tribune transferred approximately $4.3 billion of Step

   One Shareholder Transfers to the Shareholders — including the Shareholder Defendants — in

   connection with Step One of the LBO.

          118.    On or about December 20, 2007, Tribune transferred approximately $4.0 billion

   of Step Two Shareholder Transfers to the Shareholders — including the Shareholder Defendants

   — in connection with Step Two of the LBO.

          119.    Tribune did not receive, and none of the Shareholder Defendants gave, fair

   consideration in exchange for the Shareholder Transfers.

          120.    At the time the Shareholder Transfers were made, Tribune was engaged or was

   about to engage in a business or transaction for which the property remaining with Tribune after

   making the Shareholder Transfers was an unreasonably small capital.

          121.    Accordingly, the Shareholder Transfers should be set aside and recovered to the

   extent necessary to satisfy the Pre-LBO Noteholder Claims.




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                                          COUNT THREE
                                 (Constructive Fraudulent Transfer
                            Against the Named Shareholder Defendants
                            and the Shareholder Class Representatives,
                    individually and as representatives of the Shareholder Class
                     Pursuant to N.Y. DEBT. & CRED. LAW §§ 275, 278, & 279)

          122.    Plaintiffs repeat and reallege each and every allegation in all prior paragraphs,

   which are incorporated by reference as if set forth fully herein.

          123.    On or after June 4, 2007, Tribune transferred approximately $4.3 billion of Step

   One Shareholder Transfers to the Shareholders — including the Shareholder Defendants — in

   connection with Step One of the LBO.

          124.    On or about December 20, 2007, Tribune transferred approximately $4.0 billion

   of Step Two Shareholder Transfers to the Shareholders — including the Shareholder Defendants

   — in connection with Step Two of the LBO.

          125.    Tribune did not receive, and none of the Shareholder Defendants gave, fair

   consideration in exchange for the Shareholder Transfers.

          126.    At the time the Shareholder Transfers were made, Tribune intended or believed

   that it would incur debts beyond its ability to pay as they matured.

          127.    Accordingly, the Shareholder Transfers should be set aside and recovered to the

   extent necessary to satisfy the Pre-LBO Noteholder Claims.




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                                          COUNT FOUR
                                 (Constructive Fraudulent Transfer
                            Against the Named Shareholder Defendants
                            and the Shareholder Class Representatives,
                    individually and as representatives of the Shareholder Class
                   Pursuant to 740 ILL. COMP. STAT. 160/5(a)(2), 160/8, & 160/9)

          128.    Plaintiffs repeat and reallege each and every allegation in all prior paragraphs,

   which are incorporated by reference as if set forth fully herein.

          129.    On or after June 4, 2007, Tribune transferred approximately $4.3 billion of Step

   One Shareholder Transfers to the Shareholders — including the Shareholder Defendants — in

   connection with Step One of the LBO.

          130.    On or about December 20, 2007, Tribune transferred approximately $4.0 billion

   of Step Two Shareholder Transfers to the Shareholders — including the Shareholder Defendants

   — in connection with Step Two of the LBO.

          131.    Tribune did not receive, and none of the Shareholder Defendants gave, reasonably

   equivalent value in exchange for the Shareholder Transfers.

          132.    At the time the Shareholder Transfers were made, Tribune was engaged or was

   about to engage in a business or transaction for which Tribune’s remaining assets were

   unreasonably small in relation to the business or transaction.

          133.    At the time the Shareholder Transfers were made, Tribune intended to incur or

   believed or reasonably should have believed that it would incur debts beyond its ability to pay as

   they became due.

          134.    Accordingly, the Shareholder Transfers should be avoided and recovered to the

   extent necessary to satisfy the Pre-LBO Noteholder Claims.




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                                             COUNT FIVE
                                   (Constructive Fraudulent Transfer
                              Against the Named Shareholder Defendants
                              and the Shareholder Class Representatives,
                      individually and as representatives of the Shareholder Class
                       Pursuant to 740 ILL. COMP. STAT. 160/6(a), 160/8, & 160/9)

           135.      Plaintiffs repeat and reallege each and every allegation in all prior paragraphs,

   which are incorporated by reference as if set forth fully herein.

           136.      On or after June 4, 2007, Tribune transferred approximately $4.3 billion of Step

   One Shareholder Transfers to the Shareholders — including the Shareholder Defendants — in

   connection with Step One of the LBO.

           137.      On or about December 20, 2007, Tribune transferred approximately $4.0 billion

   of Step Two Shareholder Transfers to the Shareholders — including the Shareholder Defendants

   — in connection with Step Two of the LBO.

           138.      Tribune did not receive, and none of the Shareholder Defendants gave, reasonably

   equivalent value in exchange for the Shareholder Transfers.

           139.      At the time the Shareholder Transfers were made or as a result of making the

   Shareholder Transfers, the sum of Tribune’s debts was greater than all of Tribune’s assets at a

   fair valuation.

           140.      Accordingly, the Shareholder Transfers should be avoided and recovered to the

   extent necessary to satisfy the Pre-LBO Noteholder Claims.




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                                            COUNT SIX
                                 (Constructive Fraudulent Transfer
                            Against the Named Shareholder Defendants
                            and the Shareholder Class Representatives,
                    individually and as representatives of the Shareholder Class
                     Pursuant to MASS. GEN. LAWS ch. 109A, §§ 5(a)(2), 8, & 9)

          141.    Plaintiffs repeat and reallege each and every allegation in all prior paragraphs,

   which are incorporated by reference as if set forth fully herein.

          142.    On or after June 4, 2007, Tribune transferred approximately $4.3 billion of Step

   One Shareholder Transfers to the Shareholders — including the Shareholder Defendants — in

   connection with Step One of the LBO.

          143.    On or about December 20, 2007, Tribune transferred approximately $4.0 billion

   of Step Two Shareholder Transfers to the Shareholders — including the Shareholder Defendants

   — in connection with Step Two of the LBO.

          144.    In connection with Step One and Step Two, each Shareholder who was a legal or

   beneficial owner of Tribune’s common stock that was purchased, repurchased, or redeemed by

   Tribune: (a) appointed Computershare Trust Company, N.A. (“Computershare”), located in

   Braintree, Massachusetts, as such Shareholder’s agent and attorney-in-fact to the full extent of its

   right with respect to such shares; (b) delivered stock certificates and other required documents to

   Computershare in Massachusetts; and (c) received proceeds of the Shareholder Transfers from

   Computershare.

          145.    Tribune did not receive, and none of the Shareholder Defendants gave, reasonably

   equivalent value in exchange for the Shareholder Transfers.




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          146.    At the time the Shareholder Transfers were made, Tribune was engaged or was

   about to engage in a business or transaction for which Tribune’s remaining assets were

   unreasonably small in relation to the business or transaction.

          147.    At the time the Shareholder Transfers were made, Tribune intended to incur or

   believed or reasonably should have believed that it would incur debts beyond its ability to pay as

   they became due.

          148.    Accordingly, the Shareholder Transfers should be avoided and recovered to the

   extent necessary to satisfy the Pre-LBO Noteholder Claims.


                                          COUNT SEVEN
                                 (Constructive Fraudulent Transfer
                            Against the Named Shareholder Defendants
                            and the Shareholder Class Representatives,
                    individually and as representatives of the Shareholder Class
                      Pursuant to MASS. GEN. LAWS ch. 109A, §§ 6(a), 8, & 9)

          149.    Plaintiffs repeat and reallege each and every allegation in all prior paragraphs,

   which are incorporated by reference as if set forth fully herein.

          150.    On or after June 4, 2007, Tribune transferred approximately $4.3 billion of Step

   One Shareholder Transfers to the Shareholders — including the Shareholder Defendants — in

   connection with Step One of the LBO.

          151.    On or about December 20, 2007, Tribune transferred approximately $4.0 billion

   of Step Two Shareholder Transfers to the Shareholders — including the Shareholder Defendants

   — in connection with Step Two of the LBO.

          152.    In connection with Step One and Step Two, each Shareholder who was a legal or

   beneficial owner of Tribune’s common stock that was purchased, repurchased, or redeemed by



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   Tribune: (a) appointed Computershare as such Shareholder’s agent and attorney-in-fact to the

   full extent of its right with respect to such shares; (b) delivered stock certificates and other

   required documents to Computershare in Massachusetts; and (c) received proceeds of the

   Shareholder Transfers from Computershare.

          153.    Tribune did not receive, and none of the Shareholder Defendants gave, reasonably

   equivalent value in exchange for the Shareholder Transfers.

          154.    At the time the Shareholder Transfers were made, Tribune was engaged or was

   about to engage in a business or transaction for which Tribune’s remaining assets were

   unreasonably small in relation to the business or transaction.

          155.    At the time the Shareholder Transfers were made, Tribune intended to incur or

   believed or reasonably should have believed that it would incur debts beyond its ability to pay as

   they became due.

          156.    Accordingly, the Shareholder Transfers should be avoided and recovered to the

   extent necessary to satisfy the Pre-LBO Noteholder Claims.


                                     RESERVATION OF RIGHTS

          Plaintiffs reserve the right, to the extent permitted by applicable law or by agreement, to

   assert any claims relating to the subject matter of this action against any third party.


                                        PRAYER FOR RELIEF

          WHEREFORE, by reason of the foregoing, Plaintiffs respectfully request that the Court

   grant the following relief:

          (a)     certifying the Shareholder Class pursuant to Rules 23(a)(1) or 23(a)(3) of the
                  Federal Rules of Civil Procedure;


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         (b)   entering a judgment against the Shareholder Defendants, including against the
               Shareholder Class Representatives, individually and as representatives of the
               Shareholder Class, finding that the Shareholder Transfers constitute
               constructively fraudulent transfers;

         (c)   avoiding the Shareholder Transfers to the extent necessary to satisfy the Pre-LBO
               Noteholder Claims, plus post-petition interest;

         (d)   granting recovery of all amounts paid to each of the Shareholder Defendants in
               connection with the Shareholder Transfers to the extent necessary to satisfy the
               Pre-LBO Noteholder Claims, plus post-petition interest;

         (e)   granting an attachment against the assets of each of the Shareholder Defendants to
               the extent of all amounts received by each such defendant in connection with the
               Shareholder Transfers;

         (f)   imposing a constructive trust on the assets of each of the Shareholder Defendants
               to the extent of all amounts received by each such defendant in connection with
               the Shareholder Transfers;

         (g)   granting an injunction against further disposition of the assets of each of the
               Shareholder Defendants to the extent of all amounts received by each such
               defendant in connection with the Shareholder Transfers;

         (h)   levying execution on the Shareholder Transfers or their proceeds;

         (i)   awarding Plaintiffs damages in an amount to be determined at trial;

         (j)   awarding Plaintiffs their attorneys’ fees, costs, and other expenses incurred in this
               action;

         (k)   awarding Plaintiffs pre- and post-judgment interest at the highest applicable rate;
               and

         (l)   granting such other and further relief as is just and proper.

   RESPECTFULLY SUBMITTED this 20th day of September, 2011.

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